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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,                         Civil Action No. 2:16-cv-00287-cr

v.

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

      Defendants.



        DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
DAIRY MARKETING SERVICES, LLC’S MOTION FOR SUMMARY JUDGMENT
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       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants Dairy Farmers of

America, Inc. and Dairy Marketing Services, LLC (collectively, “DFA”, unless the context

requires otherwise), by counsel, hereby move for an order granting summary judgment on the

claims set forth in Plaintiffs’ Amended Complaint (ECF No. 29).

       As set forth more fully in the accompanying memorandum of law, the grounds for this

motion are as follows:

       1.      Plaintiffs’ claim that DFA engaged in a single, overarching conspiracy in violation

of Sections 1 and 2 of the Sherman Act fails as a matter of law, because plaintiffs cannot establish

a single conspiracy among DFA and all the various participants that plaintiffs claim are part of the

conspiracy, without evidence that, in addition to allegedly conspiring with DFA, the various

alleged coconspirators also conspired with each other. Plaintiffs have no such evidence, and thus

DFA is entitled to judgment on Counts One and Four of the Amended Complaint.

       2.      Plaintiffs’ claims also fail because plaintiffs cannot establish that any alleged single

conspiracy actually impacted each of the 122 plaintiffs individually, as required by Section 4 of

the Clayton Act. An expert’s purported demonstration of market harm does not establish impact

to any individual plaintiff, as a matter of law. Indeed, there is a complete absence in the record of

this case of any evidence of harm specific to each of the 122 plaintiffs.

       3.      Plaintiffs’ attempted monopsony and monopsony claims (Counts Two and Three)

also fail because plaintiffs presented no analysis that DFA and DMS together possess monopsony

power in the relevant market or that DFA and DMS have a dangerous probability of acquiring such

power. Indeed, plaintiffs’ expert admitted that he only analyzed the market power resulting from

the combined market share of all of the entities that plaintiffs allege conspired together in this case.

Because plaintiffs have no evidence that DFA’s conduct, by itself or with DMS, monopsonized
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the relevant market, plaintiffs’ unilateral conduct claims under Section 2 of the Sherman Act fail,

as a matter of law.




 Dated: January 11, 2019                            Respectfully submitted by:

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                                 Counsel for Defendants Dairy Farmers of
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                                 LLC




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on January 11, 2019, I electronically filed with the Clerk of Court, and
served counsel of record by electronic mail, the foregoing document using the CM/ECF system.
The CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to
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